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                 EXHIBIT 16
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          To:       'Steve Chamberlain'[stephenc@autonomy.com]
          From:     Joel Scott
          Sent:     Wed 1/26/2011 1:44:43 PM
          Importance:          Normal
          Subject: FW: autn_boa
          autn boa.pdf
          ATT00001 .. htm




          From: David M. Truitt [mailto:dtruitt@discovertechnologies.com]
          Sent: Wednesday, January 26, 2011 10:42 AM
          To: joels@autonomy.com
          Subject: Fwd: autn_boa




          Begin forwarded message:

             From: "Malcolm Hyson" <mhyson@discovertechnologies.com>
             To: "David M. Truitt" <dtruitt@discovertechnologies.com>
             Subject: autn_boa




FOIA CONFIDENTIAL TREATMENT REQUESTED                                       H P-SEC-SCOTT-00019635
                                                                                      Exh 1512-0001
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                                                                                                                   One Market
                                                                                                                       th
                                                                                                        Spear Tower, 19 Floor
                                                                                                      San Francisco, CA 94105
                                                                                                          Tel: (415) 243-9955
                                                                                                          Fax: (415) 243-9984
          December 31, 2010

          Discover Technologies, LLC
          1855 St. Francis St.
          Reston, VA 20190

          Dear Sir or Madame,

                    This letter ("Agreement") sets forth the terms of the agreement between Autonomy, Inc. ("Autonomy") and
          Discover Technologies, LLC ("Value Added Reseller" or "VAR") under which Autonomy will grant VAR the right to
          sublicense the Autonomy products specified in Attachment A to this Agreement ("Autonomy Software Products") to
          Bank of America, N.A. ("End User"), and under which Autonomy will provide related support services, as hereinafter
          defined, to End User.

               1. Products Licensed and Services Provided. Upon VAR's execution of this Agreement, Autonomy shall
          license to VAR for sublicense to End User the Autonomy Software Products. Once executed, this Agreement,
          including all Product Schedules attached hereto, constitutes a non-cancelable purchase commitment, all fees and
          expenses specified herein are non-refundable. VAR shall sublicense the Autonomy Software Products to End User
          subject to the terms set forth in that certain Application Service Provider and Software License Agreement between
          End User and Autonomy dated March 31, 2009, as appended and amended (the "End User Agreement"). In addition,
          Upon Autonomy's receipt of a valid purchase order and the support fees set forth in Section 2, Autonomy shall
          provide one year of support for the Autonomy Software Products solely to End User, in accordance with the terms of
          the End User Agreement. VAR may purchase consulting services from Autonomy on behalf of End User, if agreed to
          in writing by Autonomy.

                2. Fees and Payment Terms. VAR shall pay to Autonomy a fee in the amount of Three Million Six Hundred
          Seventy-Five Thousand Dollars (US$ 3,675,000.00) in consideration of the Autonomy Software Products licensed for
          distribution to End User, and first year Maintenance Services related thereto. All such fees are exclusive of
          applicable taxes, customs, duties and VAT. VAR agrees to pay Autonomy the fees set forth in the applicable invoice
          in accordance with the payment terms on Exhibit A. Provided VAR is current in its payment of all Support Fees, the
          renewal rate shall be the previous year's rate plus an increase not to exceed the greater of (a) five percent (5%), or
          (b) the rate in increase of the Consumer Price Index for Urban Wage Earners and Clerical Workers ("CPI-W"), US
          City Average, All Items, for the 12 month period immediately preceding renewal of Support for which such data is
          available. VAR shall be responsible for all federal, state and local taxes, however designated, arising from or based
          upon this Agreement, except for those taxes based on Autonomy's income. VAR acknowledges and agrees that
          Autonomy does not have a return policy or credit privileges on any software products.

              3.   Delivery. Shipped FOB point of manufacture, via electronic delivery (such as via FTP transfer) to:

                             mhyson@discovertechnologies.com

              4. No Representations/Ownership. VAR shall not make any representations or warranties about the
          Autonomy Software Products to End User, and VAR represents and warrants that it has not made any such
          representations or warranties. No license or other rights in or to the Autonomy Software Products, or the intellectual
          property rights therein, are granted to VAR. All intellectual property rights in and to the Autonomy Software Products
          are and shall remain the exclusive property of Autonomy.

             5. DISCLAIMERS AND LIMITS ON LIABILITIES. AUTONOMY SHALL NOT BE LIABLE UNDER OR IN
          CONNECTION WITH THIS AGREEMENT FOR ANY LOST REVENUE, LOST PROFITS OR OTHER
          CONSEQUENTIAL, INCIDENTAL, SPECIAL, OR PUNITIVE DAMAGES, EVEN IF ADVISED OF THE
          POSSIBILITY OF SUCH DAMAGES. IN NO EVENT SHALL AUTONOMY'S AGGREGATE LIABILITY UNDER OR


          Autonomy Confidential-Letter Agreement




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                        H P-SEC-SCOTT-00019637
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          IN CONNECTION WITH THIS AGREEMENT EXCEED THE AMOUNTS PAID BY VALUE ADDED RESELLER TO
          AUTONOMY HEREUNDER. AUTONOMY MAKES NO REPRESENTATIONS OR WARRANTIES OF ANY KIND,
          EXPRESS OR IMPLIED, WITH RESPECT TO THE AUTONOMY SOFTWARE PRODUCTS INCLUDING, WITHOUT
          LIMITATION, ANY IMPLIED WARRANTY OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE,
          OR NON INFRINGEMENT.

               6. Miscellaneous. VAR shall not disclose the terms of this Agreement, including the pricing set forth in Section
          2, to any third party. Failure by either party to enforce any provision of this Agreement shall not be deemed a waiver
          of future enforcement of that or any other provision. Any waiver, amendment, supplementation or other modification
          or supplementation of any provision of this Agreement shall be effective only if in writing and signed by both parties.
          If for any reason a court of competent jurisdiction finds any provision or portion of this Agreement to be
          unenforceable, that provision of this Agreement shall be enforced to the maximum extent permissible so as to effect
          the intent of the parties, and the remainder of this Agreement shall continue unmodified except as necessary to avoid
          unfairness. This Agreement, including the pricing set forth in Section 2, represents the entire Agreement between the
          parties hereto concerning the subject matter hereof and supersedes any and all prior correspondence, quotations and
          negotiations. VAR expressly agrees that this Agreement shall have priority over any contrary terms or additional
          terms contained in any purchase order or other form hereafter delivered by VAR to Autonomy and any such
          inconsistent or additional terms shall have no effect.




          Autonomy, Inc.:


          By:


          Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          Title:                                                          Title:


          Date:                                                           Date:    31 Dec 2010
                                                                                              -----------




          Autonomy Confidential-Letter Agreement                                                                                2




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                         H P-SEC-SCOTT-00019638
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                                                               Attachment A

                                                      Autonomy Software Products


           PRODUCT DESCRIPTION:                                QUANTITY:

           The Software consists of the following:

           The Software products described on Schedule         For use in connection with an unlimited number
           A-2 of the End User Agreement, but                  of internal Bank of America users, subject to the
           specifically excluding the following:               Product Notes below.
           1.       Any Software products that became
                    added to Schedule A-2 of the End User
                    Agreement by reason of the Parties
                    execution of Schedule A-2.2 of the
                    Agreement;
           2.       Any Software products that became
                    added to Schedule A-2 of the Agreement
                    by reason of as the Parties execution of
                    Schedule A-2.3 of the Agreement;



                Product Notes:
                •   In addition to any restrictions set forth in Schedule A-2 of the Agreement, as amended, and subject to the
                    user limitation set forth above, the Software listed as A above and licensed to Bank of America hereunder,
                    and pursuant to the Agreement prior to the Schedule Effective Date, may be used solely for the purposes of
                    archiving, supervision, storage, retention, retrieval and disposition of live-stream email data regulated by the
                    financial regulatory authorities in each of the countries in which Bank of America does business ("Regulated
                    Data"), and only from those internal users directly regulated by such financial regulatory authorities in each
                    of the countries in which Bank of America does business ("Regulated Users"), and, without limiting the
                    foregoing, in no event with files or other data from non-Regulated Users and/or non-email repositories.

                •      For avoidance of doubt, the following email accounts shall not be counted when calculating Bank of
                       America's conformance to the User Limit: (i) group mailboxes associated with multiple individual email
                       accounts, where each such individual email account is being counted when calculating Bank of America's
                       conformance to the User Limit; (ii) application service accounts associated with a single application and
                       either not associated with any individual email account(s) or associated with individual email account(s)
                       otherwise being counted when calculating Bank of America's conformance to the User Limit,; and (iii)
                       system service accounts either not associated with any individual email account(s ), or associated with
                       individual email account(s) otherwise being counted when calculating Bank of America's conformance to the
                       User Limit, and which are required by Bank of America's email infrastructure for technical support,
                       maintenance and housekeeping functions.

                •      For avoidance of doubt, where the Software is being used to archive data generated by a single individual
                       but from multiple data sources, including instant messaging systems, market data services (e.g. Bloomberg,
                       Reuters, etc.), collaborative tools, deal rooms, text messaging and mobility devices, then for purposes of
                       calculating Bank of America's conformance to any limit on number of users with which use of the Software is
                       authorized under the Agreement, each such individual shall be counted as a single user, irrespective of the
                       number of data sources from which data related to such individual is generated.


          PAYMENT TERMS:

          The fee described in Section 2 of the Agreement shall be due and payable within thirty (30) days from the date of
          invoice.




          Autonomy Confidential-Letter Agreement                                                                                  3




FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                              H P-SEC-SCOTT-00019639
                                                                                                                             Exh 1512-0004
